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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                             Case No. 4:14-cr-00080-01-KGB

JOSH RODGERS OLIVER                                                               DEFENDANT

                                            ORDER

       On March 17, 2015, defendant Josh Rodgers Oliver appeared in person with his attorney,

Shelly Hogan Koehler, for a scheduled change of plea hearing (Dkt. No. 129). The government

was represented by Assistant United States Attorney Chris Givens. The Court accepted Mr.

Oliver’s guilty plea and adjudged Mr. Oliver guilty of the offense charged in Count One of the

Indictment.

       Because Mr. Oliver was convicted of an offense for which the maximum term of

imprisonment is ten years or more as prescribed in the Controlled Substances Act, 21 U.S.C. §

801, the Court is required, with certain exceptions, to order Mr. Oliver immediately detained in

accordance with 18 U.S.C. § 3143(a)(2). Through counsel, Mr. Oliver requested to remain free

pending sentencing. Based on Mr. Oliver’s guilty plea and the representations from counsel for

the government, the Court does not find either subsection (i) or (ii) of 18 U.S.C. § 3143(a)(2)(A)

applicable. Mr. Oliver argued that, given the circumstances of his case, 18 U.S.C. § 3145(c)

applies and, therefore, the Court should permit him to remain free pending sentencing. The

government stipulated that Mr. Oliver is not likely to flee or pose a danger to the safety of any

other person or the community. The government also did not oppose Mr. Oliver’s argument that

18 U.S.C. § 3145(c) should apply to the circumstances of his case so as to permit him to remain

free pending sentencing.
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       For the reasons argued by counsel and stated by the Court on the record at the hearing in

this matter, the Court determines that, giving weight to the government’s agreement with Mr.

Oliver that 18 U.S.C. § 3145(c) should apply, special circumstances exist so as to permit Mr.

Oliver to remain free pending sentencing on the following conditions.

       Mr. Oliver is on home detention with electronic monitoring while released pending

sentencing. Mr. Oliver may not leave his residence except for employment, necessary medical

and legal appointments, and religious activities, and then only with the prior permission of the

United States Probation Office.     Mr. Oliver and Ms. Koehler shall inform and seek prior

approval from the United States Probation Office, and the Court if necessary, if any other needs

arise that require Mr. Oliver to leave his residence. Mr. Oliver is enrolled in a methadone taper

program. Subject to any conditions imposed by the United States Probation Office and this

Court, Mr. Oliver may continue to pick up and transport Adam Burns to the methadone clinic

when Mr. Oliver travels to the clinic.

       Mr. Oliver’s grandmother, Joyce Oliver, has agreed to act as third-party custodian for Mr.

Oliver. Ms. Joyce Oliver agreed in open Court to abide by the requirements of a third-party

custodian.

       Mr. Oliver and Ms. Joyce Oliver will maintain a telephone at Mr. Oliver’s place of

residence without any feature or service that would interfere with the operation of the location

monitoring equipment device, which may include Radio Frequency, Global Positioning System,

or Random Tracking at the discretion of the United States Probation Office and shall abide by all

technology requirements. Mr. Oliver shall follow all location monitoring procedures specified

by the United States Probation Office and shall pay for the costs of the program to be established




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by the United States Probation Office. Mr. Oliver must comply with the terms and conditions of

the program.

       Mr. Oliver and Ms. Joyce Oliver currently have at the residence a land telephone line

through a cable service provider and will make arrangements to have an appropriate land line

installed in the residence, as required by the United States Probation Office for the operation of

the location monitoring equipment device. The Court directs the United States Probation Office

to install the monitoring equipment on the land telephone line through the cable service provider

currently available at the residence and to reinstall the monitoring equipment on the appropriate

land line when available at the residence.

       Mr. Oliver is directed to comply with all treatment plans that are in effect currently or

that are put into effect for him. He is directed to execute a release authorizing the United States

Probation Office to access all medical and psychological treatment records.

       All other conditions of release, including those conditions of release set by Magistrate

Judge Deere in her prior orders in this case (Dkt. Nos. 11, 76) shall remain in effect, in addition

to those conditions now imposed by this Court’s Order.

       SO ORDERED this 18th day of March, 2015.



                                                     ____________________________________
                                                     Kristine G. Baker
                                                     United States District Judge




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